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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

JOHN NANNI,                                   )
411 Winterberry Drive,                        )
Middletown, DE 19709-8681,                    )
an individual,                                )       Case No.:
                                              )
              Plaintiff,                      )
                                              )
v.                                            )
                                              )
WHITE MARSH PLAZA BUSINESS                    )
TRUST,                                        )
100 West Pennsylvania Ave.,                   )
Towson, MD 21204,                             )
Baltimore County,                             )
A Maryland Business Trust,                    )
                                              )
              Defendant.

                                          COMPLAINT

       Plaintiff, JOHN NANNI, by and through his undersigned counsel, hereby files this

Complaint and sues WHITE MARSH PLAZA BUSINESS TRUST, a Maryland Business Trust,

for declaratory and injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et

seq., (“AMERICANS WITH DISABILITIES ACT” or “ADA”) and alleges:

                               JURISDICTION AND PARTIES

       1.       This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as the

“ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.       Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

       3.       Plaintiff, JOHN NANNI (hereinafter referred to as “MR. NANNI” or “Plaintiff”),

is a resident of the State of Delaware.




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       4.      Plaintiff is a qualified individual with a disability under the ADA. MR. NANNI

suffers from Post-Polio Syndrome. MR. NANNI can only walk a very limited distance each day,

and is otherwise confined to a wheelchair.

       5.      Due to his disability, Plaintiff is substantially impaired in several major life

activities including walking and standing, and requires a wheelchair for mobility.

       6.      Upon information and belief, Defendant, WHITE MARSH PLAZA BUSINESS

TRUST, a Maryland Business Trust, (hereinafter referred to as “DEFENDANT”) is the owner,

lessee, lessor and/or operator of the real property and improvements which is the subject of this

action, to wit: “the Property,” known as White Marsh Plaza, generally located at 7944 Honeygo

Blvd., Baltimore, Maryland 21236. Defendant is obligated to comply with the ADA.

       7.      All events giving rise to this lawsuit occurred in the District of Maryland.

                        COUNT I - VIOLATION OF TITLE III OF THE
                          AMERICANS WITH DISABILITIES ACT

       8.      Plaintiff realleges and reavers the preceding paragraphs as if they were expressly

restated herein.

       9.      The Property, a shopping center, is a public accommodation, subject to the ADA.

       10.     MR. NANNI has visited the Property and plans to visit the Property again in the

near future.

       11.     During these visits, MR. NANNI experienced serious difficulty accessing the

goods and utilizing the services therein due to the architectural barriers as discussed in paragraph

14 of this Complaint.

       12.     MR. NANNI continues to desire to visit the Property, but continues to experience

serious difficulty due to the barriers discussed herein, which still exist.




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        13.     MR. NANNI intends to and will visit the Property to utilize its goods and services

in the future, but fears that he will encounter the same barriers to access which are the subject of

this action.

        14.     DEFENDANT is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302

et seq. and is discriminating against Plaintiff due to, but not limited to, the following violations

which Plaintiff personally encountered and/or observed and which hindered his access:

        A.      Plaintiff encountered inaccessible parking due to excessive slopes and low

                signage;

        B.      Plaintiff encountered inaccessible curb ramps due to excessive slopes, excessively

                sloped side flares, lack of level landings, and not being flush; and

        C.      Plaintiff encountered inaccessible routes to entrance due to excessive slopes and

                disrepair.

        15.     Furthermore, DEFENDANT continues to discriminate against Plaintiff by failing

to make reasonable modifications in policies, practices or procedures, when such modifications

are necessary to provide Plaintiff an equal opportunity to participate in, or benefit from, the

goods, services, facilities, privileges, advantages, and accommodations which DEFENDANT

offers to the general public; and by failing to take such efforts that may be necessary to ensure

that no individual with a disability is excluded, denied services, segregated or otherwise treated

differently than other individuals because of the absence of auxiliary aids and services.

        16.     To date, the barriers discussed herein still exist and have not been remedied or

altered in such a way as to effectuate compliance with the provisions of the ADA, even though

removal is readily achievable.




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       17.     Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible, and easily accomplished, and would not place an undue burden on

DEFENDANT.

       18.     Removal of the barriers to access located on the Property would provide Plaintiff

an equal opportunity to participate in, or benefit from, the goods, services, and accommodations

which DEFENDANT offers to the general public.

       19.     Independent of his intent to return as a patron to the Property, Plaintiff

additionally intends to return as an ADA tester to determine whether the barriers to access stated

herein have been remedied.

       20.     Plaintiff has been obligated to retain the undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by DEFENDANT, pursuant to 42 U.S.C. § 12205.

                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against DEFENDANT, and requests the

following injunctive and declaratory relief:

               A.      That the Court declares that the Property owned, leased and/or

               operated by DEFENDANT is in violation of the ADA;

               B.      That the Court enter an Order directing DEFENDANT to alter the

               Property to make it accessible to and useable by individuals with

               disabilities to the full extent required by Title III of the ADA;

               C.      That the Court enter an Order directing DEFENDANT to evaluate

               and neutralize its policies and procedures towards persons with disabilities




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   for such reasonable time so as to allow to undertake and complete

   corrective procedures.

   D.      That the Court award reasonable attorneys’ fees, costs (including

   expert fees), and other expenses of suit, to the Plaintiff;

   E.      That the Court awards such other and further relief as it deems

   necessary, just and proper.



                                          Respectfully Submitted,


                                          KU & MUSSMAN, P.A.
                                          6001 NW 153rd Street Suite 100
                                          Miami Lakes, Florida 33014
                                          Tel: (305) 891-1322
                                          Fax: (305) 891-4512
                                          Attorneys for Plaintiff

                                  By: /s/ Robert King         ________
                                          Robert King, Esq. (MD 07156)
                                          King & Silverman Attorneys at Law
                                          5707 East West Highway
                                          Riverdale, MD 20737
                                          Tel: 301-699-3100
                                          Fax: 301-864-7825
                                          bobking@silverkinglaw.com




                                      5
 2JS 44 (Rev. 12/07)                  Case 1:16-cv-00729-MJG
                                                       CIVIL Document 1 Filed 03/11/16 Page 6 of 8
                                                             COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 I. (a) PLAINTIFFS                                                                                              DEFENDANTS
JOHN NANNI                                                                                                       WHITE MARSH PLAZA BUSINESS TRUST

      (b) County of Residence of First Listed Plaintiff               NEW CASTLE                                County of Residence of First Listed Defendant                BALTIMORE
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                               LAND INVOLVED.

      (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
Ku & Mussman, P.A.- 6001 NW 153 Street, Suite 100, Miami Lakes, FL
33014, Of Counsel: Robert King, Esq., King & Silverman Attorney at Law
5707 East West Highway, Riverdale, MD 20737, Tel: 301-699-3100
 II. BASIS OF JURISDICTION                             (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                         and One Box for Defendant)
 u 1     U.S. Government                  u 3 Federal Question                                                                        PTF         DEF                                          PTF      DEF
           Plaintiff                            (U.S. Government Not a Party)                           Citizen of This State         u 1         u 1      Incorporated or Principal Place      u 4     u 4
                                                                                                                                                           of Business In This State

 u 2     U.S. Government                  u 4 Diversity                                                 Citizen of Another State          u 2     u    2   Incorporated and Principal Place     u 5      u 5
           Defendant                                                                                                                                          of Business In Another State
                                                   (Indicate Citizenship of Parties in Item III)
                                                                                                        Citizen or Subject of a           u 3     u    3   Foreign Nation                       u 6      u 6
                                                                                                          Foreign Country
 IV. NATURE OF SUIT                       (Place an “X” in One Box Only)
           CONTRACT                                              TORTS                                    FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
 u   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY              u 610 Agriculture                   u 422 Appeal 28 USC 158           u   400 State Reapportionment
 u   120 Marine                       u    310 Airplane                 u 362 Personal Injury -         u 620 Other Food & Drug             u 423 Withdrawal                  u   410 Antitrust
 u   130 Miller Act                   u    315 Airplane Product               Med. Malpractice          u 625 Drug Related Seizure                28 USC 157                  u   430 Banks and Banking
 u   140 Negotiable Instrument                 Liability                u 365 Personal Injury -               of Property 21 USC 881                                          u   450 Commerce
 u   150 Recovery of Overpayment      u    320 Assault, Libel &               Product Liability         u 630 Liquor Laws                     PROPERTY RIGHTS                 u   460 Deportation
        & Enforcement of Judgment              Slander                  u 368 Asbestos Personal         u 640 R.R. & Truck                  u 820 Copyrights                  u   470 Racketeer Influenced and
 u   151 Medicare Act                 u    330 Federal Employers’             Injury Product            u 650 Airline Regs.                 u 830 Patent                              Corrupt Organizations
 u   152 Recovery of Defaulted                 Liability                      Liability                 u 660 Occupational                  u 840 Trademark                   u   480 Consumer Credit
         Student Loans                u    340 Marine                    PERSONAL PROPERTY                    Safety/Health                                                   u   490 Cable/Sat TV
         (Excl. Veterans)             u    345 Marine Product           u 370 Other Fraud               u 690 Other                                                           u   810 Selective Service
 u   153 Recovery of Overpayment               Liability                u 371 Truth in Lending                      LABOR                     SOCIAL SECURITY                 u   850 Securities/Commodities/
         of Veteran’s Benefits        u    350 Motor Vehicle            u 380 Other Personal            u 710 Fair Labor Standards          u 861 HIA (1395ff)                        Exchange
 u   160 Stockholders’ Suits          u    355 Motor Vehicle                  Property Damage                 Act                           u 862 Black Lung (923)            u   875 Customer Challenge
 u   190 Other Contract                        Product Liability        u 385 Property Damage           u 720 Labor/Mgmt. Relations         u 863 DIWC/DIWW (405(g))                  12 USC 3410
 u   195 Contract Product Liability   u    360 Other Personal                 Product Liability         u 730 Labor/Mgmt.Reporting          u 864 SSID Title XVI              u   890 Other Statutory Actions
 u   196 Franchise                             Injury                                                        & Disclosure Act               u 865 RSI (405(g))                u   891 Agricultural Acts
        REAL PROPERTY                       CIVIL RIGHTS                 PRISONER PETITIONS             u 740 Railway Labor Act               FEDERAL TAX SUITS               u   892 Economic Stabilization Act
 u   210 Land Condemnation            u    441 Voting                   u 510 Motions to Vacate         u 790 Other Labor Litigation        u 870 Taxes (U.S. Plaintiff       u   893 Environmental Matters
 u   220 Foreclosure                  u    442 Employment                     Sentence                  u 791 Empl. Ret. Inc.                      or Defendant)              u   894 Energy Allocation Act
 u   230 Rent Lease & Ejectment       u    443 Housing/                    Habeas Corpus:                     Security Act                  u 871 IRS—Third Party             u   895 Freedom of Information
 u   240 Torts to Land                        Accommodations            u 530 General                                                             26 USC 7609                         Act
 u   245 Tort Product Liability       u    444 Welfare                  u 535 Death Penalty                   IMMIGRATION                                                     u   900Appeal of Fee Determination
 u   290 All Other Real Property      u    445 Amer. w/Disabilities -   u 540 Mandamus & Other          u 462 Naturalization Application                                              Under Equal Access
                                              Employment                u 550 Civil Rights              u 463 Habeas Corpus -                                                         to Justice
                                      u    446 Amer. w/Disabilities -   u 555 Prison Condition               Alien Detainee                                                   u   950 Constitutionality of
                                              Other                                                     u 465 Other Immigration                                                       State Statutes
                                      u    440 Other Civil Rights                                            Actions




 V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                                    Appeal to District
 u 1 Original            u 2 Removed from                    u 3 Remanded from                     u 4 Reinstated or u 5 Transferred  from
                                                                                                                         another district  u 6 Multidistrict                        u 7 Judge from
                                                                                                                                                                                        Magistrate
     Proceeding                 State Court                             Appellate Court                Reopened                                Litigation
                                                                                                                         (specify)                                                            Judgment
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181
 VI. CAUSE OF ACTION Brief description of cause:
                                              Disability Discrimination
 VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                   DEMAND $                                     CHECK YES only if demanded in complaint:
      COMPLAINT:          UNDER F.R.C.P. 23                                                                                                             JURY DEMAND:         u Yes     ✔
                                                                                                                                                                                       u No
 VIII. RELATED CASE(S)
                        (See instructions):
       IF ANY                               JUDGE                                                                                               DOCKET NUMBER

 DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
   03/11/2016                                                             /s/ Robert King
 FOR OFFICE USE ONLY

     RECEIPT #                   AMOUNT                                        APPLYING IFP                                       JUDGE                           MAG. JUDGE
                       Case 1:16-cv-00729-MJG Document 1 Filed 03/11/16 Page 7 of 8
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District
                                                   __________      of Maryland
                                                               District of __________

                                                                   )
                                                                   )
                      JOHN NANNI,                                  )
                       an Individual,                              )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No.
                                                                   )
                                                                   )
                                                                   )
 WHITE MARSH PLAZA BUSINESS TRUST,                                 )
       A Maryland Business Trust,                                  )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
 WHITE MARSH PLAZA BUSINESS TRUST
 By Serving Registered Agent:
 Abba David Poliakoff
 Gordon, Feinblatt, Rothman, Hoffberger
 233 East Redwood Street
 Baltimore, MD 21202
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Ku & Mussman, P.A.
                                           6001 NW 153 Street, Suite 100, Miami Lakes, FL 33014
                                           Of Counsel: Robert King, Esq.
                                           King & Silverman, Attorney at Law
                                           5707 East West Highway,Riverdale, MD 20737
                                           Tel: 301-699-3100
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
